               Case 1:21-cr-00289-RMB Document 46 Filed 10/08/21 Page 1 of 3 PageID: 202                                           ---
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FROM: 72419050
TO.._
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SU~                                                                                         AT 8:30
DATE: 10/04/2021 01:44:49 PM                                                                    W!Li]":.;--
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                                                                                                       £AK
      Dear Honorable Renee Marie Bumb,

        My name is Josue Pichardo 72419-050 and i respectfully ask the court to hold a hearing on my behalf to get my Jea
agreement fix or for me to withdraw my plea.                                                                        ~

My lawyer Gregory J. Pagano told me that he and the government was in agreement that if i pied out that my offense level
would be 25 and i would be in a criminal history category 4 and i would get a sentence in a range of 84 to 105 months.

I received my PSI and my guideline range came to 188 to 235 months. I was never told that from my lawyer or explain that from
my lawyer and didn't understand why it came back that high.

Also the last time i was at court for sentencing my lawyer told the prosecutor in the court room that they agreed that my
sentence should be in a range of 120 to 136 months.

I never agreed to that and my lawyer never told me that i would get a sentence in a range of 120 to 136 months. We never had
any discussion on a range of a 120 to 136 months.

What my lawyer told me was i would get a sentence in a range of 84 to 105 months and the government agreed to it, that's why,
i plead out. I have a letter here that proves what my lawyer told me "Exhibit A".

So my lawyer lied to me and mislead me. I respectfully ask the court to hold a hearing before i get sentenced to try to fix this
because i was never told these things and don't understand this new sentence range my lawyer and the government came up
with.
Thank you so much Honor.

                                                                            Respectfully Submitted,
       Case 1:21-cr-00289-RMB Document 46 Filed 10/08/21 Page 2 of 3 PageID: 203

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                                             ATTORNEY AT LAW
Gregory J. Pagano                                                                  1315 Walnut Street, 12th Floor
Sarah A. Jones•                                                                          Philadelphia, PA 19107
George V. Troilo                                                                            Phone: 215-636-0160
Henry M. George•                                                                               Fax:215~636-0164
Licensed PA & NJ•                                                                           www.paganolaw.net

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                                                          E.)(ibi t p...
       November 11, 2020

       Fito Abreu
       ID# 57663
       Salem County Correctional Facility 125 Cemetery Road .
       Woodstown, NJ 08098

                 RE:    United States v. Fito Abreu (AKA Josue Plchaldo, AKA Josue Pichardo)

       Josue:·

                 This letter is in response to your letter postmarked November 7, 2020.

              Pursuant to the plea the mandatory minimum is 5 years.incarceration. Pursuant to Title
       21 ·uscsectiOn 851, the enhanced mandatory minimum sentence (in this case 10 years) may
       only be applied if the prosecutor files a notice under Section 851 (a copy of the statute is.
       enclosed for your review). The benefit of pleading guilty pursuant to the plea agreement is that
       the AUSA has agreed that she will NOTfile an 851 Notice, which under the Criminal Code,
       would trigger a mandatory 10 years incarceration. In your case the Court will impose a
       minimum sentence of 5 years incarceration and the United States Sentencing Guidelines· are as
       follows (per my calculations) are adjusted offense level 25, criminal history category IV which is
       a range of 84-105 months.

                 If you have any further questions, please do not hesitate to contact my office, I remain,




       GJP/dc
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                                                                                            Camden, NJ 08102
                                                                                            United States


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